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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Philips Medical Systems (Cleveland), Inc., et al.
                                                    Plaintiff,
v.                                                               Case No.: 1:19−cv−02648
                                                                 Honorable Marvin E. Aspen
Sherman Jen, et al.
                                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 21, 2022:


        MINUTE entry before the Honorable Young B. Kim: Kunshan Defendants'
objections to Plaintiffs' Requests for Production of Documents ("RPD") Nos. 152, 153,
156, 157, 160, 161, 163, 166−75, 178−82, 185−88, 196, 197, 199, and 202−04 are
sustained in part and overruled in part. Enter Order. Defendants are ordered to produce the
documents they agreed to produce in response to RPD Nos. 184, 192, 201, 205, and 206,
and documents responsive to RPD Nos. 152, 153, 156, 157, 163, 170, 171, 173, 178−82,
185−88, 196, 197, 202, and 203 as ordered herein. Kunshan Defendants are ordered to
comply with this order by April 11, 2022. The court will impose monetary sanctions if
Kunshan Defendants fail to comply with this court's orders without good cause. If
Kunshan Defendants refuse to comply with this court's discovery orders, (see R. 397 at 2),
this court will report and recommend to the assigned District Judge to enter default
judgment against them and in favor of Plaintiffs. All fact discovery must be completed by
July 1, 2022. Mailed notice (ec)




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